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                                       #:3129


   1   DAVIS LAW OFFICE
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   4
       Attorneys For Plaintiffs and Judgment Creditors
   5   Big Bird Holdings, LLC and Jonathan David Parker
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   7

   8                      UNITED STATES DISTRICT COURT
   9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  10   DAVID PARKER and BIG BIRD                  CASE NO.: 8:12-cv-01994-DOC-JCG
       HOLDINGS, LLC,
  11
                    Plaintiffs,                   ACKNOWLEDGEMENT OF
  12   vs.                                        ASSIGNMENT OF JUDGMENT
                                                  PURSUANT TO CALIFORNIA
  13   ALEXANDER MARINE CO., LTD.,                CODE OF CIVIL PROCEDURE
                                                  SECTION 673
  14                Defendant.
                                                  [Filed Concurrently with Declaration
  15                                              of Jonathan David Parker in Support of
                                                  Acknowledgement of Assignment]
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  19
  20         TO THE COURT AND ALL INTERESTED PARTIES:
  21         PLEASE TAKE NOTICE that Plaintiff and Judgment Creditor Jonathan
  22   David Parker does hereby acknowledge assignment, by way of the Assignment and
  23   Acceptance Agreement between Jonathan David Parker and Big Bird Holdings,
  24   LLC, of all right, title and interest to the Judgment in favor of Big Bird Holdings,
  25   LLC against Defendant and Judgment Debtor Alexander Marine Co., Ltd. entered
  26   and filed in this matter on February 2, 2015 (Doc. 103), as amended on March 21,
  27   2019 (Doc. 206 and 207) and September 3, 2024 (Doc. 221), plus any future
  28   modifications and renewals thereof. No renewals of the judgment have been

                         ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT
                    PURSUANT TO CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 673
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     1   entered.
     2          Big Bird Holdings, LLC, as Assignor, hereby acknowledges that it has
     3   assigned all its right, title and interest in the above-referenced judgment to
     4   Jonathan David Parker, as Assignee.
     5          The name of the Judgment Creditor in the above-entitled action is:
     6
         Big Bird Holdings, Inc
     7   1605 Via Montemar
         Palos Verdes Estates, CA 90274
     8
                The name and last known address of the Judgment Debtor in the above-
     9
         entitled action is:
    10
         Alexander Marine Co., Ltd.
    11   No. 1 Jin Fu Road
         Qian-Zhen District Kaohsiung, Taiwan 806
    12
                The name and address of the Assignee of this judgment is:
    13
         Jonathan David Parker
    14   1605 Via Montemar
         Palos Verdes Estates, CA 90274
    15
                The rights represented by this judgment that are assigned to the assignee,
    16
         Jonathan David Parker, are for a money judgment, including, the rights of the
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         assignor, Big Bird Holdings, LLC, to receive payments in satisfaction of the
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         judgment and all other rights under the judgment. This is an assignment of the full
    19
         amount of the judgment in the sum of $4,204,593.96 with accrued interest thereon
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         at the legal rate from and after the date of entry of this judgment.
    21

    22
                I declare under penalty of perjury under the laws of the Unites States of
    23

    24   America that the foregoing is true and c o r r e ~ ~

    25
         Dated: October 24, 2024                               c ..~ - < - - - - --
    26
                                                                Jonathan David Parker
    27                                                          Manager of Big Bird Holdings, LLC
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                                    ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT
                               PURSUANT TO CALIFORNIA CODE OF CJVJL PROCEDURE SECTlON 673
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   1                              CERTIFICATE OF SERVICE
   2         Pursuant to Local Rule, I, the filer of this document, attest that all other
   3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
   4   content and have authorized the filing. I certify that on October 24, 2024, I
   5   electronically filed the foregoing ACKNOWLEDGEMENT OF ASSIGNMENT
   6   OF JUDGMENT PURSUANT TO CALIFORNIA CODE OF CIVIL
   7   PROCEDURE SECTION 673with the Clerk of the Court for the United States
   8   District Court, Central District of California, by using the CM/ECF system.
   9   Participants in the case who are registered CM/ECF users will be served by the
  10   CM/ECF system.
  11

  12
        Dated: October 24, 2024                    DAVIS LAW OFFICE
  13                                               By: /s/ D. Jason Davis
                                                      D. Jason Davis, Esq.
  14                                               Attorneys for Plaintiffs and Judgment
                                                   Creditors Big Bird Holdings, LLC and
  15                                               Jonathan David Parker
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                               ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT
                          PURSUANT TO CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 673
